       Case 1:21-cv-00227-TJM-CFH Document 1 Filed 02/26/21 Page 1 of 20




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK

KATHEY HENRY,
individually and on behalf of all
others similarly situated,
                                                          CASE NO.: 1:21-cv-227 (TJM/CFH)
                    Plaintiff,
        v.                                                CLASS ACTION COMPLAINT

BEECH-NUT NUTRITION CO.,                                  JURY TRIAL DEMANDED

                    Defendant.


                                 CLASS ACTION COMPLAINT

       Plaintiff Kathey Henry (“Plaintiff”), on behalf of herself and all others similarly situated,

by her undersigned attorneys, for her complaint against Defendant Beech-Nut Nutrition Co.

(hereafter “Beech-Nut” or “Defendant”), alleges the following based upon personal knowledge as

to herself and her own action, and, as to all other matters, alleges, upon information and belief and

investigation of their counsel, as follows:

                                        INTRODUCTION




1
  The affected baby foods include the following: (a) Beech-Nut Rice Single Grain Baby Cereal;
(b) Beech-Nut Oatmeal Whole Grain Baby Cereal; (c) Beech-Nut Classic Sweet Carrots; (d)
Beech-Nut Organics Carrots; (e) Beech-Nut Naturals Sweet Potatoes; (f) Beech-Nut Classics
Sweet Potatoes; (g) Beech-Nut Classics Sweet Peas; (h) Beech-Nut Naturals Butternut Squash; (i)
Beech-Nut Organics Pumpkin; (j) Beech-Nut Organics Apples; (k) Beech-Nut Naturals Bananas;
(l) Beech-Nut Naturals Beets, Pear & Pomegranate; (m) Beech-Nut Classics Mixed Vegetables;
(n) Beech-Nut Breakfast On-the-Go Yogurt, Banana & Mixed Berry Blend; (o) Beech-Nut
Organics Sweet Potatoes; (p) Beech-Nut Organics Pears; (q) Beech-Nut Organics Apple Kiwi &
Spinach; (r) Beech-Nut Naturals Carrots; (s) Beech-Nut Organics Pear Kale & Cucumber; (t)
Beech-Nut Oatmeal Whole Grain Baby Cereal; Beech-Nut Rice Single Grain Baby Cereal; (u)
      Case 1:21-cv-00227-TJM-CFH Document 1 Filed 02/26/21 Page 2 of 20




                                      THE PARTIES




Beech-Nut Banana Stage; (v) Beech-Nut Sweet Peas Stage 2; (w) Beech-Nut Carrots Stage 2; (x)
Beech-Nut Green Beans Stage 2; (y) Beech-Nut Sweet Potatoes Stage 2; (z) Beech-Nut Apple
Stage 2 (the “Products”). Discovery may reveal additional products at issue.
2
  See https://www.beechnut.com/frequently-asked-questions/ (last visited Feb. 22, 2021).
3
  Id.


                                             2
Case 1:21-cv-00227-TJM-CFH Document 1 Filed 02/26/21 Page 3 of 20




                   JURISDICTION AND VENUE




                                3
      Case 1:21-cv-00227-TJM-CFH Document 1 Filed 02/26/21 Page 4 of 20




                              FACTUAL ALLEGATIONS




4
  See https://www.researchandmarkets.com/reports/338658/baby_foods_and_infant_formula_glo
bal_market?utm_source=dynamic&utm_medium=BW&utm_code=b559sk&utm_campaign=138
6712+-+Global+Baby+Foods+and+Infant+Formula+Market+Assessment+2020-2025&utm_exe
c=joca220bwd (last visited Feb. 15, 2017).
5
  Id.


                                           4
Case 1:21-cv-00227-TJM-CFH Document 1 Filed 02/26/21 Page 5 of 20




                                5
      Case 1:21-cv-00227-TJM-CFH Document 1 Filed 02/26/21 Page 6 of 20




                           Healthy Babies Bright Futures Report




6
   Healthy Babies Bright Futures, What’s In My Baby’s Food? (Oct. 2019), https://
www.healthybabyfood.org/sites/healthybabyfoods.org/files/2020-04/BabyFoodReport_ENGLIS
H_R6.pdf (last visited Feb. 22, 2021) (hereinafter, “Healthy Babies Bright Futures Report”).
7
  Id. at 13.
8
  Id. at 6.
9
  Id. at 1.


                                             6
      Case 1:21-cv-00227-TJM-CFH Document 1 Filed 02/26/21 Page 7 of 20




10
   Id at 13.
11
   Id. at 1.
12
   U.S. House of Representatives Subcommittee on Economic & Consumer Policy, Staff Report,
“Baby Foods are Tainted with Dangerous Levels of Arsenic, Lead, Cadmium and Mercury (Feb.
4, 2021). A copy of the report is available at https://oversight.house.gov/sites/democrats.oversigh
t.house.gov/files/2021-02-04%20ECP%20Baby%20Food%20Staff%20Report.pdf (last visited
Feb. 22, 2021).
13
   Id. at 3.
14
   Id. at 4.


                                                7
      Case 1:21-cv-00227-TJM-CFH Document 1 Filed 02/26/21 Page 8 of 20




             Plaintiff Relies Upon the Products’ Label to Purchase the Products




15
   Id. at 3.
16
   Id. at 4.
17
   Id. at 3.
18
   Id. at 4.
19
   U.S. House of Representatives Subcommittee on Economic & Consumer Policy, Staff Report,
“Baby Foods are Tainted with Dangerous Levels of Arsenic, Lead, Cadmium and Mercury” (Feb.
4, 2021).


                                             8
Case 1:21-cv-00227-TJM-CFH Document 1 Filed 02/26/21 Page 9 of 20




                                9
Case 1:21-cv-00227-TJM-CFH Document 1 Filed 02/26/21 Page 10 of 20




                  CLASS ACTION ALLEGATIONS




                                10
Case 1:21-cv-00227-TJM-CFH Document 1 Filed 02/26/21 Page 11 of 20




                                11
Case 1:21-cv-00227-TJM-CFH Document 1 Filed 02/26/21 Page 12 of 20




                                12
Case 1:21-cv-00227-TJM-CFH Document 1 Filed 02/26/21 Page 13 of 20




                      Fraudulent Misrepresentation
          (On Behalf of the Nationwide Class and, alternatively,
            the Mississippi Subclass (collectively, the “Class”))




                                    13
Case 1:21-cv-00227-TJM-CFH Document 1 Filed 02/26/21 Page 14 of 20




                                COUNT 2

                            Fraud by Omission
          (On Behalf of the Nationwide Class and, alternatively,
            the Mississippi Subclass (collectively, the “Class”))




                                    14
Case 1:21-cv-00227-TJM-CFH Document 1 Filed 02/26/21 Page 15 of 20




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Case 1:21-cv-00227-TJM-CFH Document 1 Filed 02/26/21 Page 16 of 20




                                COUNT 3

                       Negligent Misrepresentation
          (On Behalf of the Nationwide Class and, alternatively,
            the Mississippi Subclass (collectively, the “Class”))




                                    16
Case 1:21-cv-00227-TJM-CFH Document 1 Filed 02/26/21 Page 17 of 20




                                COUNT 4

                            Unjust Enrichment
          (On Behalf of the Nationwide Class and, alternatively,
            the Mississippi Subclass (collectively, the “Class”))




                                    17
      Case 1:21-cv-00227-TJM-CFH Document 1 Filed 02/26/21 Page 18 of 20




       WHEREFORE, Plaintiff, individually and on behalf of the other Members of the Classes

proposed in this Complaint, respectfully requests that the Court enter judgment as follows:




                                               18
Case 1:21-cv-00227-TJM-CFH Document 1 Filed 02/26/21 Page 19 of 20




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                                19
      Case 1:21-cv-00227-TJM-CFH Document 1 Filed 02/26/21 Page 20 of 20




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                                           Classes


*pro hac vice to be filed.




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